                Case 24-60190                       Doc 12              Filed 04/04/24 Entered 04/04/24 12:08:01                                                       Desc Main
                                                                         Document     Page 1 of 16
 Fill in this information to identify your case and this filing:

  Debtor 1                 Victoria                     Rose                         Capra
                           First Name                  Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                          Western                   District of          Virginia

  Case number             24-60190                                                                                                                                      ❑ Check if this is an
                                                                                                                                                                          amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                   12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ❑ No. Go to Part 2.
        ✔ Yes. Where is the property?
        ❑
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1      11820 Belfonte Rd                                ✔ Single-family home
                                                                  ❑                                                                     the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.
                description                                       ❑ Condominium or cooperative                                         Current value of the              Current value of the
                                                                  ❑ Manufactured or mobile home                                        entire property?                  portion you own?
                                                                  ❑ Land
                Bumpass, VA 23024                                 ❑ Investment property                                                              $142,600.00                    $71,300.00

                City       State                 ZIP Code
                                                                  ❑ Timeshare                                                          Describe the nature of your ownership interest
                                                                  ❑ Other                                                              (such as fee simple, tenancy by the entireties, or
                Louisa                                                                                                                 a life estate), if known.
                                                                  Who has an interest in the property? Check one.
                County
                                                                  ❑ Debtor 1 only                                                       Joint Tenants w/full common law rights of

                                                                  ❑ Debtor 2 only
                                                                                                                                        survivorship

                                                                  ❑ Debtor 1 and Debtor 2 only                                         ❑ Check if this is community property
                                                                  ✔ At least one of the debtors and another
                                                                  ❑                                                                         (see instructions)

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:

                                                                  Source of Value: Tax Assessment



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                                                   $71,300.00
        you have attached for Part 1. Write that number here ...................................................................................................


  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑ No
           ✔ Yes
           ❑



Official Form 106A/B                                                                Schedule A/B: Property                                                                               page 1
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       3.1     Make:                           Hyundai           Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
                                               Tucson
               Model:                                            ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.

                                               2019              ❑ Debtor 1 and Debtor 2 only                                         Current value of the              Current value of the
                                                                 ❑ At least one of the debtors and another
               Year:
                                                                                                                                      entire property?                  portion you own?
               Approximate mileage:
                                                                 ❑ Check if this is community property (see                                           $15,975.00                   $15,975.00
                                                                      instructions)
               Other information:

                VIN: KM8J2CA44KU971351



 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes

       4.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                                            ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the              Current value of the
                                                                 ❑ At least one of the debtors and another
               Year:
                                                                                                                                      entire property?                  portion you own?
               Other information:
                                                                 ❑ Check if this is community property (see
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                   $15,975.00
       you have attached for Part 2. Write that number here ...................................................................................................


  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                                      Current value of the
                                                                                                                                                                        portion you own?
                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                        claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    See Attached.                                                                                                                              $995.00


 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    Cell Phone
                                                                                                                                                                                       $100.00
                                            TV




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 2
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Debtor Capra, Victoria Rose                                                                                                            Case number (if known) 24-60190



 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                       Ordinary clothes                                                                                                                                  $250.00


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                       Dog                                                                                                                                               $750.00


 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. .............




                                                                                                                                                                              ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                              $2,095.00
       for Part 3. Write that number here .................................................................................................................................


  Part 4:            Describe Your Financial Assets

 Do you own or have any legal or equitable                             Current value of the portion you own?
 interest in any of the following?                                     Do not deduct secured claims or exemptions.



Official Form 106A/B                                                                      Schedule A/B: Property                                                                                  page 3
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 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ✔ No
       ❑
       ❑ Yes ...................................................................................................................................................      Cash: ...................


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                                                      Institution name:

                                             17.1. Checking account:                           Bank of America account ending in 7566                                                                         $188.00


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................          Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them....................        Name of entity:                                                                                                        % of ownership:




 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them....................        Issuer name:




Official Form 106A/B                                                                              Schedule A/B: Property                                                                                       page 4
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 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑ No
       ✔ Yes. List each
       ❑
           account separately. Type of account:                 Institution name:

                                      401(k) or similar plan:    Fidelity MARS 401k                                                                    $5,785.54

                                      401(k) or similar plan:    Vanguard GEICO 401k                                                                   $4,574.85


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔ No
       ❑
       ❑ Yes ......................                        Institution name or individual:

                                      Electric:

                                      Gas:

                                      Heating oil:

                                      Security deposit on rental unit:

                                      Prepaid rent:

                                      Telephone:

                                      Water:

                                      Rented furniture:

                                      Other:


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................    Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




Official Form 106A/B                                                       Schedule A/B: Property                                                        page 5
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 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                       Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.

 28.   Tax refunds owed to you

       ❑ No
       ✔ Yes. Give specific information about
       ❑
                them, including whether you                                                                  Federal:                               $2,167.00
                already filed the returns and
                the tax years. ...................                                                           State:

                                                                                                             Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
                                                                                                             Alimony:

                                                                                                             Maintenance:

                                                                                                             Support:

                                                                                                             Divorce settlement:

                                                                                                             Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........




Official Form 106A/B                                               Schedule A/B: Property                                                             page 6
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Debtor Capra, Victoria Rose                                                                                                            Case number (if known) 24-60190



 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ✔ No
       ❑
       ❑ Yes. Name the insurance company
                   of each policy and list its value. ...            Company name:                                             Beneficiary:                                       Surrender or refund value:




 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........



                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                $12,715.39
       for Part 4. Write that number here .................................................................................................................................


  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔ No. Go to Part 6.
       ❑
       ❑ Yes. Go to line 38.
                                                                                                                                                                                    Current value of the
                                                                                                                                                                                    portion you own?
                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                    claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                      page 7
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 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......
                                         Name of entity:                                                                                            % of ownership:




 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                   ❑ No
                   ❑ Yes. Describe. .........


 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                              $0.00
       for Part 5. Write that number here .................................................................................................................................




Official Form 106A/B                                                                      Schedule A/B: Property                                                                              page 8
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  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.
                                                                                                                                                                                    Current value of the
                                                                                                                                                                                    portion you own?
                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                    claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................


 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




                                                                                                                                                                              ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                    $0.00
       for Part 6. Write that number here .................................................................................................................................


  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                            ➔                         $0.00




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                    page 9
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  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔           $71,300.00


 56.   Part 2: Total vehicles, line 5                                                                                $15,975.00

 57.   Part 3: Total personal and household items, line 15                                                             $2,095.00

 58.   Part 4: Total financial assets, line 36                                                                       $12,715.39

 59.   Part 5: Total business-related property, line 45                                                                      $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                             $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                         $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                             $30,785.39            Copy personal property total             ➔      +    $30,785.39



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................                                  $102,085.39




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                 page 10
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                 Continuation Page

 6.               Household goods and furnishings

                  Bedrooms - Bes, dresser, vacuum, sheets, towels &
                  blankets.                                                                                                   $420.00

                  Kitchen - Cookware, microwave, clothes washer/dryer,
                  dishes & utensils.                                                                                          $375.00

                  Living room - Lamps, sofa.                                                                                  $200.00




Official Form 106A/B                                         Schedule A/B: Property                                           page 11
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 Fill in this information to identify your case:

  Debtor 1                     Victoria              Rose               Capra
                               First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)          First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                          Western District of Virginia

  Case number                             24-60190                                                                                   ❑ Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar
amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit.
Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount.
However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the       Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from        Check only one box for each exemption.
                                                             Schedule A/B
 Brief description:
                                                                                        ✔
                                                                                        ❑               $0.00                    Va. Code Ann. § 34-4
 11820 Belfonte Rd Bumpass, VA 23024                                      $71,300.00
                                                                                        ❑ 100% of fair market value, up
 Line from                                                                                  to any applicable statutory limit
 Schedule A/B:           1.1

 Brief description:
                                                                                        ✔
                                                                                        ❑              $375.00                   Va. Code Ann. § 34-26(4a)
 Kitchen - Cookware, microwave, clothes                                      $375.00
 washer/dryer, dishes & utensils.                                                       ❑ 100% of fair market value, up
                                                                                            to any applicable statutory limit
 Line from
 Schedule A/B:            6


 3.   Are you claiming a homestead exemption of more than $189,050?
      (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        ❑ No
        ❑ Yes




Official Form 106C                                             Schedule C: The Property You Claim as Exempt                                                  page 1 of 3
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 Debtor 1             Victoria          Rose                  Capra                                         Case number (if known) 24-60190
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the     Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from      Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                               ✔
                                                                               ❑              $200.00                   Va. Code Ann. § 34-26(4a)
 Living room - Lamps, sofa.                                         $200.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑              $420.00                   Va. Code Ann. § 34-26(4a)
 Bedrooms - Bes, dresser, vacuum, sheets, towels                    $420.00
 & blankets.                                                                   ❑ 100% of fair market value, up
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑              $50.00                    Va. Code Ann. § 34-4
 Cell Phone                                                           $50.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         7

 Brief description:
                                                                               ✔
                                                                               ❑              $50.00                    Va. Code Ann. § 34-26(4a)
 TV                                                                   $50.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         7

 Brief description:
                                                                               ✔
                                                                               ❑              $250.00                   Va. Code Ann. § 34-26(4)
 Ordinary clothes                                                   $250.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         11

 Brief description:
                                                                               ✔
                                                                               ❑              $750.00                   Va. Code Ann. § 34-26(5)
 Dog                                                                $750.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:        13

 Brief description:
                                                                               ✔
                                                                               ❑              $141.00                   Va. Code Ann. § 34-29
 Bank of America account ending in 7566                             $188.00
 Checking account                                                              ❑ 100% of fair market value, up
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:        17
                                                                               ✔
                                                                               ❑              $47.00                    Va. Code Ann. § 34-4
                                                                               ❑ 100% of fair market value, up
                                                                                  to any applicable statutory limit




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                 page 2 of 3
                  Case 24-60190             Doc 12       Filed 04/04/24 Entered 04/04/24 12:08:01                           Desc Main
                                                         Document      Page 14 of 16

 Debtor 1             Victoria          Rose                  Capra                                        Case number (if known) 24-60190
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from     Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                              ✔
                                                                              ❑            $4,574.85                   11 U.S.C. § 522(b)(3)(C)
 Vanguard GEICO 401k                                              $4,574.85
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:        21

 Brief description:
                                                                              ✔
                                                                              ❑            $5,785.54                   11 U.S.C. § 522(b)(3)(C)
 Fidelity MARS 401k                                               $5,785.54
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:        21

 Brief description:
                                                                              ✔
                                                                              ❑            $2,167.00                   Va. Code Ann. § 34-4
 Federal tax                                                      $2,167.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:        28




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                               page 3 of 3
                        Case 24-60190              Doc 12        Filed 04/04/24 Entered 04/04/24 12:08:01                            Desc Main
                                                                 Document      Page 15 of 16

 Fill in this information to identify your case:

  Debtor 1                  Victoria               Rose               Capra
                            First Name             Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                        Western District of Virginia

  Case number                          24-60190                                                                                      ❑ Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                           12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                               . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                         Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Victoria Rose Capra
        Victoria Rose Capra, Debtor 1


        Date 04/04/2024
                 MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
              Case 24-60190        Doc 12     Filed 04/04/24 Entered 04/04/24 12:08:01              Desc Main
                                              Document      Page 16 of 16
                              UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF VIRGINIA
                                     LYNCHBURG DIVISION
                                                               §
IN RE:                                                         §
Capra, Victoria Rose                                           § Case No. 24-60190
                                                               §
                          Debtor(s)                            § Chapter      7

                     DECLARATION FOR ELECTRONIC FILING OF AMENDED PETITION,
                    ORIGINAL/AMENDED BANKRUPTCY STATEMENTS AND SCHEDULES,
                           AND/OR AMENDED MASTER MAILING LIST (MATRIX)

As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation, partnership, or
limited liability company named as the debtor in this case, I HEREBY DECLARE UNDER PENALTY OF PERJURY
that I have read

❑      the original statements and schedules to be filed electronically in this case

❑      the voluntary petition as amended on                       and to be filed electronically in this case

❑
X      the statements and schedules as amended on 4/4/2024                 and to be filed electronically in this case:

❑      the master mailing list (matrix) as amended on                       and to be filed electronically in this case

and that the information provided therein is true and correct. I understand that this Declaration is to be filed with the
Bankruptcy Court within five (5) business days after such statements, schedules, and/or amended petition or matrix
have been filed electronically. I understand that a failure to file the signed original of this Declaration as to any original
statements and schedules will result in the dismissal of my case and that, as to any amended petition, statement,
schedule or matrix, such failure may result in the striking of the amendment(s).

❑      [Only include if petitioner is a corporation, partnership or limited liability company] --
       I hereby further declare under penalty of perjury that I have been authorized to file the statements,
       schedules, and/or amended petition or amended matrix on behalf of the debtor in this case.

Date                              /s/ Victoria Rose Capra
04/04/2024
                           Capra, Victoria Rose
                           Debtor
                           Soc. Sec. No. 6 0 4 9
